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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

JAMES KIGHT                                                            PLAINTIFF


VS.                                4:21CV000328 JM

GOVERNMENT EMPLOYEES INSURANCE
COMPANY                                                                DEFENDANT

                                          ORDER

       Pending is the parties’ joint motion to dismiss. (Docket #32). For good cause shown,

the motion is GRANTED. The case is hereby dismissed with prejudice. The Clerk is directed

to close the case.

       IT IS SO ORDERED this 31st day of May, 2022.



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                                                  UNITED STATES DISTRICT JUDGE
